






NO. 07-02-0294-CR


NO. 07-02-0295-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



MAY 16, 2003



______________________________




THE STATE OF TEXAS, APPELLANT



V.



DON STEVEN MCDOUGAL, APPELLEE




_________________________________



FROM THE COUNTY COURT AT LAW OF LIBERTY COUNTY;



NOS. 69996 AND 69997; HONORABLE DON TAYLOR, JUDGE



_______________________________



Before REAVIS and CAMPBELL, JJ., and BOYD, S.J.

Memorandum Opinion

	In this proceeding, the State is appealing the trial court's granting of a motion to
suppress evidence.  Tex. Code Crim Proc. Ann. art. 44.01.  The events in question
developed as the result of a traffic stop by a Liberty County Deputy Sheriff.  We reverse
the suppression order.

	The trial judge is the sole and exclusive trier of fact at a hearing on a motion to
suppress evidence.  Romero v. State, 800 S.W.2d 539, 543 (Tex.Crim.App. 1990).  If the
trial judge's fact findings are supported by the record, an appellate court may not disturb
them and, on appellate review, we may only address the question of whether the trial judge
improperly applied the law to the facts.  Self v. State, 709 S.W.2d 662 (Tex.Crim.App.
1986).  Where, as here, the trial court did not specify the reason it found the evidence
inadmissible, if the judge's decision is correct on any theory of law applicable to the case,
it will be sustained.  Spann v. State, 448 S.W.2d 128 (Tex.Crim.App. 1969).  In determining
whether the trial judge's decision was correct, we must consider the totality of the
circumstances and we may not disturb the decision absent a clear abuse of discretion.
Dancy v. State, 728 S.W.2d 772, 777 (Tex.Crim.App.), cert. denied, 484 U.S. 975, 108
S.Ct. 485, 98 L.Ed.2d 484 (1987).  Even so, where, as here, the historical facts are
undisputed, we review the trial court's ruling de novo.  See State v. Jennings, 958 S.W.2d
930, 932 (Tex.App.-Amarillo 1997, no pet.).

	Liberty County Deputy Sheriff Frank Longoria was the only witness to testify at the
suppression hearing.  He testified that on February 6, 2002, the date in question, he was
in uniform and on routine patrol driving a clearly marked patrol unit.  At about 8:30 p.m.,
he observed a white Mercury Topaz automobile traveling ahead of him.  He averred that
the car was "weaving" and in doing so, it crossed both the right hand fog line and the
center line.  He pulled the car over and walked over to the driver's side to explain the
reason for the stop.  He explained that he made the stop because the driver had failed to
"maintain a single lane."  

	After the officer had identified himself, he asked for a driver's license.  The driver,
later identified as appellant, replied that he did not have his driver's license with him. 
Longoria asked, and received, appellant's name and date of birth so the officer could run
a "check" on him.  While Longoria was waiting for the return, he asked appellant if he had
anything, such as an insurance card, that had his name on it to prove who he was.
Receiving an affirmative reply, the officer then asked for appellant's consent to look in the
glove box.  Longoria said that appellant said yes and "kind of hung his head and said
there's also a bag of marijuana in there."  The officer then "secured" appellant, placed him
in the patrol car, opened the glove box and recovered the bag of marijuana.  Appellant was
then charged with Class B misdemeanors of possession of marijuana and driving while
license suspended.

	The State bears the burden of proving the legality of a warrantless arrest or search. 
Lalande v. State, 676 S.W.2d 115, 116 (Tex.Crim.App. 1984).  Traffic stops by roving
patrols are considered seizures within the purview of the Fourth Amendment to the Federal
Constitution.  Delaware v. Prouse, 440 U.S. 648, 653, 99 S.Ct. 1391, 1395, 59 L.Ed.2d 660
(1979).  However, an officer may lawfully stop and detain a person for a traffic violation. 
McVickers v. State, 874 S.W.2d 662, 664 (Tex.Crim.App. 1993).

	Initially, then, we must decide if appellant committed a traffic violation.  In pertinent
part, section 545.060 of the Texas Transportation Code provides:

	(A) An operator on a roadway divided into two or more clearly marked lanes
for traffic:


		(1) shall drive as nearly as practical entirely within a single lane; and


		(2) may not move from the lane unless that movement can be made
safely.


Tex. Transp. Code Ann. § 545.060 (Vernon 1999).  Under the undisputed evidence, the
record is sufficient to show that appellant had committed a traffic offense.  That being true,
the officer was justified in making a traffic stop.  It is also sufficient to show that appellant
admitted a violation of the law and gave consent to the officer's opening of the glove
compartment and obtaining possession of the contraband.

	Accordingly, the trial court reversibly erred in its application of the law to the
undisputed facts and in granting the motion to suppress.  The suppression order is
reversed and the cause remanded to the court for further proceedings.


							John T. Boyd

							Senior Justice


Do not publish.


